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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 10-cv-01031-MSK-BNB

   SHELLY GOMEZ,

                Plaintiff,

   v.

   PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

                Defendant.


                                  SCHEDULING ORDER


                          1. DATE OF CONFERENCE
               AND APPEARANCES OF COUNSEL AND PRO SE PARTIES

         The Rule 16(b) conference was held on July 20, 2010.

         David M. Larson, Esq. represents the Plaintiff.
         405 S. Cascade Avenue, Suite 305
         Colorado Springs, CO 80903
         (719) 473-0006

         Bruce R. Carvajal, Esq., represents the Defendant.
         Portfolio Recovery Associates, LLC
         4600 S. Syracuse St., Suite 900
         Denver, CO 80237
         (757) 519-9300

                               2. STATEMENT OF JURISDICTION

         Jurisdiction is based upon 28 U.S.C. § 1331 and 15 U.S.C. § 1692k for the

   Plaintiff’s FDCPA claim.

                       3. STATEMENT OF CLAIMS AND DEFENSES

         a.     Plaintiff(s): Plaintiff claims that the Defendant violated the Fair Debt
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        Collection Practices Act, 15 U.S.C. § 1692 et seq. sections 1692d preface, d(2),

        1692e preface, e(2)(A), e(5), e(8), e(10), e(11) and 1692f preface by

        representing to the Plaintiff that he had to have a reason to dispute the account

        and that her reason had to be valid, that paying the account is the only way to get

        the account off of her credit reports, that she had to fill out the paperwork that the

        Defendant was sending to her, have her answers notarized and send the

        paperwork back to the Defendant to dispute the Account.

        b.     Defendant(s): The Defendant denies Plaintiff’s claims that it violated

        the Fair Debt Collection Practices Act. The Defendant also denies Plaintiff’s

        claim that it caused any injury or damage to the Plaintiff. The Defendant

        asserted defenses in its Answer and Defenses to the Complaint.

                                     4. UNDISPUTED FACTS

        The following facts are undisputed:

        1.     This Court has Jurisdiction pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §

               1692k(d).

        2.     Venue is proper in this Judicial District.

        3.     The Defendant transacts business in Colorado.

        4.     The Plaintiff is a natural person.

        5.     Defendant is a Delaware limited liability company operating from an address

               at 120 Corporate Blvd., Norfolk, Virginia, 23502.

        6.     The principal purpose of the Defendant is the collection of debts using the



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              mails and telephone.

        7.    The Defendant regularly attempts to collect debts previously due another.

        8.    Sometime before 2008 the Plaintiff allegedly incurred a financial obligation

              that was primarily for personal, family or household purposes namely an

              amount due and owing on a personal account owed to Orchard Bank.

        9.    The account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

        10.   The account went into default with the original creditor.

        11.   The account charged off in 2008.

        12.   After the account went into default it was purchased by the Defendant for

              collection from the Plaintiff.

        13.   The Defendant called the Plaintiff in the year prior to the filing of the instant

              action.

        14.   The Plaintiff called the Defendant in the year prior to the filing of the instant

              action.

        15.   The Defendant’s purpose for the telephone calls was to attempt to collect

              the account.

        16.   The Plaintiff and the Defendant had telephone conversations with the

              Plaintiff for the purpose of collecting the account in the year prior to the

              filing of the instant action.

        17.   The telephone calls conveyed information regarding the account directly

              or indirectly to the Plaintiff.



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        18.   The Defendant called the Plaintiff and left voicemail messages for the

              purpose of collecting the account.

        19.   The representatives and / or collectors at the Defendant were employees

              of and agents for the Defendant at all times mentioned in the Complaint.

        20.   The representatives and / or collectors at the Defendant were acting within

              the course of their employment at all times mentioned in the Complaint.

        21.   The representatives and / or collectors at the Defendant were acting within

              the scope of their employment at all times mentioned in the Complaint.

        22.   The representatives and / or collectors at the Defendant were under the

              direct supervision and control of the Defendant at all times mentioned in

              the Complaint.

                            5. COMPUTATION OF DAMAGES

        Plaintiff: Plaintiff seeks statutory damages in an amount to be determined by a

        jury pursuant to the FDCPA and actual damages in an amount to be determined

        by a jury pursuant to the FDCPA. While considered damages the Plaintiff also

        seeks to recover the reasonable attorney’s fees incurred in this action and for the

        costs of bringing this action pursuant to the FDCPA, to be determined at the

        conclusion of this case.

        Defendant: Defendant is not seeking any damages at this time.

                 6. REPORT OF PRECONFERENCE DISCOVERY AND
                       MEETING UNDER FED. R. CIV. P. 26(f)

        a.    Date of rule 26(f) meeting: June 29, 2010.

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         b.     Names of each participant and party he/she represented.

                David M. Larson, Esq. represented the Plaintiff.

                Bruce R. Carvajal, Esq. represented the Defendants.

         c.     Proposed changes, if any, in timing or requirement of disclosures under
                Fed. R. Civ. P. 26(a)(1): None.

         d.     Statement as to when rule 26(a)(1) disclosures were made or will be
                made.

                The mandatory disclosures pursuant to Rule 26(a)(1) were made by the

                Plaintiff on June 30, 2010.

                The mandatory disclosures pursuant to Rule 26(a)(1) were made by the

                Defendant on June 29, 2010.

         e.     Statement concerning any agreements to conduct informal discovery,
                including joint interviews with potential witnesses, exchanges of
                documents, and joint meetings with clients to discuss settlement. If there
                is agreement to conduct joint interviews with potential witnesses, list the
                names of such witnesses and a date and time for the interview which has
                been agreed to by the witness, all counsel, and all pro se parties.

                No such agreements have been made.

         f.     The parties do not anticipate that their claims or defenses will involve
                extensive electronically stored information, or that a substantial amount of
                disclosure or discovery will involve information or records maintained in
                electronic form.

         g.     Statement summarizing the parties’ discussions regarding the possibilities
                for promptly settling or resolving the case.

                The parties have discussed resolving the case.

                                        7. CONSENT

         All parties have not consented to the exercise of jurisdiction of a U.S. Magistrate
   Judge.
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                                8. DISCOVERY LIMITATIONS

         a.     Modifications which any party proposes to the presumptive numbers of
   depositions or interrogatories contained in the Federal Rules.

                10 depositions per side, 25 interrogatories per side.

         b.     Limitations which any party proposes on the length of depositions.

                7 hours per deposition except as indicated on deposition schedule, 4
                hours for each employee, collector and / or collection supervisor at the
                Defendant and four hours for each of the Plaintiff’s witnesses.

         c.     Limitations which any party proposes on the number of requests for
   production and/or requests for admission.

                25 Requests for Production per side, 25 Requests for Admissions per
                side.

         d.     Other Planning or Discovery Orders.

                None.

                              9. CASE PLAN AND SCHEDULE

         a.     Deadline for Joinder of Parties and Amendment of Pleadings:

                August 31, 2010

         b.     Discovery Cut-off:

                October 29, 2010

         c.     Dispositive Motion Deadline:

                November 30, 2010

         d.     Expert Witness Disclosure

                (1)     State anticipated fields of expert testimony, if any.

                        Plaintiff: None
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                           Defendant: None

                 (2)       State any limitations proposed on the use or number of expert
                           witnesses.

                           Two Experts per side, including any rebuttal experts.

                 (3)       The parties shall designate all experts and provide opposing
                           counsel and any pro se party with all information specified in Fed.
                           R. Civ. P. 26(a)(2) on or before:

                           September 1, 2010

                 (4)       The parties shall designate all rebuttal experts and provide
                           opposing counsel and any pro se party with all information specified
                           in Fed. R. Civ. P. 26(a)(2) on or before:

                           September 30, 2010

                 (5) Notwithstanding the provisions of Fed. R. Civ. P. 26(a)(2)(B), no
                     exception to the requirements of the rule will be allowed by stipulation
                     of the parties unless the stipulation is approved by the court.

           d.    Identification of Persons to be deposed:

   Name of Deponent          Date of Deposition       Time of Deposition   Expected Length of
                                                                           Deposition
   Plaintiff                 To be determined         To be determined     Up to 7 hours
                             on or before
                             August 20, 2010

   Plaintiff’s Witnesses     To be determined         To be determined     Up to 4 hours for
                             on or before                                  each witness
                             August 20, 2010




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   Unknown               To be determined           To be determined    Up to 4 hours for
   employees,            on or before                                   each employee,
   collectors and                                                       collector / collection
                         August 20, 2010                                supervisor
   collection
   supervisors at the
   Defendant

   Corporate            To be determined            To be determined    Up to 7 hours for
   Representative(s) of on or before                                    each deponent
   the Defendant
   pursuant to          August 20, 2010
   Fed.R.Civ.P.
   30(b)(6)

         f.     Deadline for Interrogatories:

                To be served so that the responses are due by the discovery cutoff.

         g.     Deadline for Requests for Production of Documents and/or Admissions:

                To be served so that the responses are due by the discovery cutoff.

                        10. DATES FOR FURTHER CONFERENCES

      a. A settlement conference will be held on________________________ at ______

      o'clock __.m.

         It is hereby ordered that all settlement conferences that take place before the
   U.S. Magistrate Judge shall be confidential.

         ( )    Pro se parties and attorneys only need be present.

         ( )    Pro se parties, attorneys, and client representatives with authority to settle
                must be present. (NOTE: This requirement is not fulfilled by the presence
                of counsel. If an insurance company is involved, an adjustor authorized to
                enter into settlement must also be present.)

         ( )    Each party shall submit a Confidential Settlement Statement to the
                magistrate judge on or before _______________ outlining the facts and
                issues, as well as the strengths and weaknesses of their case.


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           b.    Status conferences will be held in this case at the following dates and
                 times:
                 ___________________________________________________________
                 ___________________________________________________________

           c.    A final pretrial conference will be held in this case on

           __________________at _____ o'clock __.m. A Final Pretrial Order shall
           be prepared by the parties and submitted to the court no later than five (5) days
           before the final pretrial conference.

                            11. OTHER SCHEDULING MATTERS

           a.    Identify those discovery or scheduling issues, if any, on which counsel,
   after a good-faith effort, were unable to reach an agreement.

                 None.

           b.    Anticipated length of trial and whether trial is to the court or jury.

                 Two day trial to jury.

           c.    Identify pretrial proceedings, if any, that the parties believe may be more
                 efficiently or economically conducted in the District Court’s facility at 212
                 N. Wahsatch Street, Colorado Springs, Colorado.

                 None.

                      12. NOTICE TO COUNSEL AND PRO SE PARTIES

         The parties filing motions for extension of time or continuances must comply with
   D.C.COLO.LCivR 6.1D. by submitting proof that a copy of the motion has been served
   upon the moving attorney’s client, all attorneys of record, and all pro se parties.

            Counsel will be expected to be familiar and to comply with the Pretrial and Trial
   Procedures or Practice Standards established by the judicial officer presiding over the
   trial of this case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR
   7.1A.

          In addition to filing an appropriate notice with the clerk's office, a pro se party
   must file a copy of a notice of change of his or her address or telephone number with
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   the clerk of the U.S. Magistrate Judge assigned to this case.

         In addition to filing an appropriate notice with the clerk's office, counsel must file
   a copy of any motion for withdrawal, motion for substitution of counsel, or notice of
   change of counsel's address or telephone number with the clerk of the U.S. Magistrate
   Judge assigned to this case.

                        13. AMENDMENTS TO SCHEDULING ORDER

            The scheduling order may be altered or amended only upon a showing of good
   cause.


            DATED this ______ day of July, 2010.


                                              BY THE COURT:


                                              _______________________________
                                              Boyd N. Boland
                                              United States Magistrate Judge

   APPROVED:


    s/ David M. Larson                               s/ Bruce R. Carvajal
   David M. Larson, Esq.                         Bruce R. Carvajal, Esq.
   405 S. Cascade Avenue, Suite 305              Portfolio Recovery Associates, LLC
   Colorado Springs, CO 80903                    4600 S Syracuse St., Suite 900
   (719) 473-0006                                Denver, CO 80237
   Attorney for the Plaintiff                    (757) 519-9300
                                                 Attorney(s) for the Defendant




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